Case 3:21-cv-03825-AMO Document 259-41 Filed 05/17/24 Page 1 of 7




ATTACHMENT 41
Case 3:21-cv-03825-AMO Document 259-41 Filed 05/17/24 Page 2 of 7
Case 3:21-cv-03825-AMO Document 259-41 Filed 05/17/24 Page 3 of 7
Case 3:21-cv-03825-AMO Document 259-41 Filed 05/17/24 Page 4 of 7
Case 3:21-cv-03825-AMO Document 259-41 Filed 05/17/24 Page 5 of 7
Case 3:21-cv-03825-AMO Document 259-41 Filed 05/17/24 Page 6 of 7
Case 3:21-cv-03825-AMO Document 259-41 Filed 05/17/24 Page 7 of 7
